









Dismissed and Memorandum Opinion filed June 16, 2005









Dismissed and Memorandum Opinion filed June 16, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00338-CR

NO.
14-05-00339-CR

____________

&nbsp;

SANDRA AGUILERA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
248th District Court

Harris County, Texas

Trial Court Cause Nos.
996,899 &amp; 1005067

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notices of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeals dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Memorandum Opinion filed June 16, 2005.

Panel consists of
Justices Yates, Anderson, and Hudson. 

Do not publish C Tex.
R. App. P. 47.2(b).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 





